  Case 2:95-cr-80272-LJM ECF No. 792, PageID.312 Filed 02/24/09 Page 1 of 16




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

LUIS ARAÑA,

                            Petitioner,                Nos. 03-CV-73023
vs.                                                        95-CR-80272

UNITED STATES OF AMERICA,

                      Respondent.
_________________________________/

         OPINION AND ORDER DENYING PETITIONER’S 2255 MOTION
              TO VACATE, SET ASIDE OR CORRECT SENTENCE

                             At a session of said Court, held in
                            the U.S. Courthouse, Detroit, Michigan
                            on          February 24, 2009

                            PRESENT: Honorable Gerald E. Rosen
                                     Chief Judge, United States District Court

                                  I. INTRODUCTION

       This matter is presently before the Court on Petitioner Luis Araña’s § 2255 Motion

to Vacate Sentence. The Government has responded to Araña’s Motion and Petitioner

has replied. Having reviewed and considered Petitioner’s briefs, his supplements thereto,

and the Government’s response, and having reviewed the entire record of this matter, the

Court finds that a hearing is unnecessary. Therefore, in accordance with Rule 8 of the

Rules Governing Section 2255 Proceedings and Local Rule 7.1(e)(2), Petitioner’s motion

will be decided on the briefs.

                                   II. BACKGROUND

                                            1
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.313 Filed 02/24/09 Page 2 of 16




       Petitioner Luis Araña is the former leader of a large scale drug trafficking

organization that moved cocaine between Miami and Detroit. He and 16 co-defendants

were indicted on various narcotics trafficking charges and various crimes directly and

indirectly connected to the death of Gil Debasa, Araña’s former partner in a drug-dealing

enterprise.

       Araña and three of his co-defendants, Jose Alberto Reyes, Gilberto Felipe

Hernandez and Lorenzo Domingas, were tried together before a jury in 1998. After a 23-

day trial, Araña was convicted of conspiracy to possess with intent to distribute and to

distribute cocaine (Count 1), murder for hire (Count 2), aiding and abetting intentional

killing (Count 3), and aiding and abetting a firearms murder in relation to a drug

trafficking Crime (Count 4).1 He was subsequently sentenced by this Court to four

concurrent terms of life imprisonment on Counts 1-4.

       Araña thereafter appealed his conviction to the Sixth Circuit Court of Appeals

challenging (1) the district court’s decision to allow a joint trial on the separate drug

trafficking and various murder charges; (2) the sufficiency of the case agent’s summary

testimony supporting the indictment; and (3) the admissibility at trial of evidence of prior

wrongful acts. He also argued that he was entitled to resentencing under Apprendi v.



       1
          All four defendants were convicted of conspiracy to possess cocaine with intent
to distribute; Araña and Hernandez were also convicted of murder-for-hire, aiding and
abetting an intentional killing, and aiding and abetting a firearms murder in relation to a
drug trafficking crime. Hernandez was additionally convicted on a witness tampering
charge.

                                              2
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.314 Filed 02/24/09 Page 3 of 16




New Jersey, 530 U.S. 466 (2000). The Sixth Circuit rejected all of Araña’s claims and

affirmed this Court’s Judgment. See United States v. Reyes, et al., 51 Fed. Appx. 488

(6th Cir., Oct. 9, 2002). Araña thereafter petitioned to the Supreme Court for a writ of

certiorari. The Supreme Court denied the petition. See Araña v. United States, 537 U.S.

1076 (Dec. 9, 2002).

       Araña subsequently filed the instant § 2255 motion, raising the following issues:

       ISSUE I: It was an abuse of discretion when the trial Court denied
       Petitioner’s request that testimony regarding evidence of other crimes or
       wrongs that occurred prior to the alleged conspiracy should have been
       excluded and/or a mistrial granted.

       ISSUE II: Petitioner did not receive a fair trial when defense counsel was
       allowed to offer information that Gil Debasa had been killed because of a
       “hit” out of New York and it was also an abuse of discretion when the court
       denied counsel’s request for an investigator to inquire into the matter and
       when the court gave an instruction that effectively told the jurors his
       opinion was evidence and the information regarding a New York hit was
       not to be considered valid.

       ISSUE III: Trial counsel’s performance constituted ineffective assistance
       contrary to and guaranteed by the Sixth Amendment of the U.S.
       Constitution.

       ISSUE IV: Araña was deprived of effective assistance of counsel on direct
       appeal.

       ISSUE V: The trial was replete with inadmissible hearsay evidence that
       prejudiced the defense requiring reversal of conviction.

       ISSUE VI: Petitioner’s right to a fair trial was violated by the government’s
       repeated use of leading questions.

       ISSUE VII: Other instances of error that show petitioner did not receive a
       fair trial.


                                             3
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.315 Filed 02/24/09 Page 4 of 16




       ISSUE VIII: The evidence was insufficient to convict on all counts and due
       process was violated when the government offered inconsistent theories.

       ISSUE IX: There was no evidence proffered to support a conviction in
       Count III nor were the elements necessary for a conviction under Section
       848 listed in the indictment nor presented at trial; thus the district court
       impermissibly amended the indictment or the error amounted to a fatal
       variance.

       ISSUE X: The jury was impermissibly charged with finding Petitioner
       responsible for both “five kilos or more of cocaine” and “a detectable
       amount” requiring resentencing under 21 U.S.C. § 841(b)(1)(C) or at level
       12.

                                      III. DISCUSSION

A.     LEGAL STANDARDS

       The substantive provisions of § 2255 provide that a federal prisoner “claiming the

right to be released upon the ground that the sentence was imposed in violation of the

Constitution or laws of the United States. . . may move the court which imposed the

sentence to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255 para.1. Thus, a

defendant may be entitled to § 2255 relief if his conviction or sentence violates either the

Constitution or a federal statute. However, in order to obtain relief under § 2255 on the

basis of a non-constitutional -- i.e., a statutory or rule -- error, the record must reflect a

fundamental defect in the proceedings which inherently causes a miscarriage of justice or

an omission inconsistent with the rudimentary demands of fair procedure. Reed v.

Farley, 512 U.S. 339, 348 (Ginsberg, J); id. at 355-56 (Scalia, J.); United States v.

Todaro, 982 F.2d 1025, 1028 (6th Cir. 1993) (per curiam). As the Seventh Circuit



                                                4
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.316 Filed 02/24/09 Page 5 of 16




explained in Broadway v. United States, 104 F.3d 901 (7th Cir. 1997):

       Where “mere statutory violations are at issue,” as here, the Supreme Court
       has recently held that § 2255 can only avail a petitioner if the alleged error
       spawned a “‘fundamental defect which inherently results in a complete
       miscarriage of justice.’” Federal courts lack the power under § 2255 to
       rectify errors that fall short of “vitiat[ing] the sentencing court’s jurisdiction
       or are otherwise of constitutional magnitude.”

104 F.3d at. 903 (quoting, respectively, Reed, 512 U.S. at 348 (quoting Hill v. United

States, 368 U.S. 424, 428 (1962)) (citations omitted); and Guinan v. United States, 6 F.3d

468, 470 (7th Cir. 1993) (citations omitted)). With these standards in mind, the Court

will address the issues raised in Petitioner Araña’s § 2255 motion.

B.     PETITIONER’S CLAIM REGARDING THE ADMISSION OF “PRIOR
       WRONGFUL ACTS” WAS ALREADY LITIGATED AND DISPOSED
       OF BY THE COURT OF APPEALS

       As an initial matter, the Court notes that Petitioner’s first argument, i.e., that the

trial court abused its discretion when it denied Petitioner’s request that testimony

regarding evidence of other crimes or wrongs that occurred prior to the alleged

conspiracy should have been excluded as improper character evidence, not only is a non-

constitutional one, but also is one Petitioner has already argued and was expressly

rejected by the appellate court in Petitioner’s direct appeal to the Sixth Circuit.

       It is well-settled that a § 2255 motion may not be used to relitigate an issue that

was raised and disposed of on appeal absent highly exceptional circumstances. See

DuPont v. United States, 76 F.3d 108, 110 (6th Cir. 1996); United States v. Brown, 62

F.3d 1418 (6th Cir. 1995), cert. denied, 516 U.S. 942 (1995); Warren v. United States,


                                               5
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.317 Filed 02/24/09 Page 6 of 16




1994 WL 486625 (6th Cir. 1994). See also Stephan v. United States, 496 F.2d 527,

528-29 (6th Cir.1974), cert. denied, 423 U.S. 861 (1975) (rejecting a defendant’s attempt

to relitigate issues in a habeas action that had already been litigated on direct appeal).

This is the law, not only in the Sixth Circuit but in virtually every other circuit. See e.g.,

Cabrera v. United States, 972 F.2d 23, 25 (2nd Cir.1992) (“[S]ection 2255 may not be

employed to relitigate questions which were raised and considered on direct appeal.”);

Belford v. United States, 975 F.2d 310, 313 (7th Cir.1992) (issues raised on direct appeal

cannot be raised in a collateral attack absent a change in circumstances); Dall v. United

States, 957 F.2d 571, 572 (8th Cir.1992) (claims introduced and decided on direct appeal

may not be relitigated in a § 2255 motion to vacate); Walter v. United States, 969 F.2d

814, 816 (9th Cir.1992) (“[W]hen a federal prisoner presents a claim in a § 2255 petition

that he has presented previously, the federal court retains the discretion to refuse to

consider the claim on the basis that the prisoner is abusing the writ.”); Murchu v. United

States, 926 F.2d 50, 55 (1st Cir.), cert. denied, 112 S.Ct. 99 (1991) (issues decided on

direct appeal cannot be relitigated in a § 2255 motion); United States v. Prichard, 875

F.2d 789, 791 (10th Cir.1989) (“Absent an intervening change in the law of a circuit,

issues disposed of on direct appeal generally will not be considered on a collateral attack

by a motion pursuant to § 2255.”); United States v. Greene, 834 F.2d 1067, 1073

(D.C.Cir.1987), cert. denied, 487 U.S. 1238 (1988) (issues raised by defendant on direct

appeal were inappropriate for collateral review). Here, the precise issue Petitioner raises



                                               6
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.318 Filed 02/24/09 Page 7 of 16




regarding his objections to the admission of pre-conspiracy bad acts evidence was

actually litigated and actually decided by the Court of Appeals. There have been no

change of circumstances or any intervening change in the law. The law is clear that,

under these circumstances, Petitioner cannot relitigate his claims in Issue I in this § 2255

action.

C.        PETITIONER HAS PROCEDURALLY DEFAULTED ON HIS ISSUES
          II, V, VI, VII, VIII, IX, AND X

          In Issues II and V-X, Petitioner alleges various trial errors including the Court’s

disallowance of a possible alternative theory of the killing of Gil Debasa proffered by

defense counsel and failure of the Court to appoint an investigator to investigate the

matter; the admission of various instances of hearsay evidence; the government’s use of

leading questions; and insufficiency of the evidence. Petitioner did not raise any of these

claims in his direct appeal. This constitutes a procedural default. See Phillips v. United

States, 229 F.3d 550, 552 (6th Cir. 2000).

          A § 2255 proceeding is not a substitute for a direct appeal. See United States v.

Addonizio, 442 U.S. 178, 184, 99 S.Ct. 2235, 2240 (1979). Accordingly, claims not

raised on direct appeal generally may not be raised on collateral review. See Massaro v.

United States, 538 U.S. 500, 503, 123 S.Ct. 1690, 1693 (2003). If any issue could have

been raised on direct appeal, the failure to raise it therein constitutes a procedural default

and precludes review in a § 2255 proceeding unless the petitioner can demonstrate both

“cause” for the procedural default and actual “prejudice,” or that he is “actually


                                                7
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.319 Filed 02/24/09 Page 8 of 16




innocent.”’ Bousley v. United States, 523 U.S. 614, 622, 118 S.Ct. 1604 (1998); Murray

v. Carrier, 477 U.S. 478, 485, 106 S.Ct. 2639, 2643-2644 (1986);United States v. Frady,

456 U.S. 152, 167-68, 102 S.Ct. 1584, 1594 (1982). The “cause and prejudice” standard

requires the prisoner to show not only that “some objective factor external to the defense”

impeded his efforts to raise the issue earlier, Coleman v. Thompson, 501 U.S. 722, 753,

111 S.Ct. 2546, 2566 (1991) (citing Murray v. Carrier, supra, 477 U.S. at 488, 106 S.Ct.

at 2645), but also that the error he alleges “worked to his actual and substantial

disadvantage, infecting his entire trial with error.” Frady, supra, 456 U.S. at 170, 102

S.Ct. 1596 (emphasis in original). The “hurdle” a petitioner faces in excusing his

procedural default is “intentionally high. . . , for respect for the finality of judgments

demands that collateral attack generally not be allowed to do service for an appeal.”

Peveler v. United States, 269 F.3d 693, 699-700 (6th Cir. 2001) (quoting Elzy v. United

States, 205 F.3d 882, 884 (6th Cir.2000)).

       Petitioner Araña has not argued “cause” or “prejudice” or “actual innocence” as to

any of his claims in Issues II, V, VI, VII, VIII, IX or X so as to excuse his failure to raise

these issues in his direct appeal. He has, however, advanced a claim of “ineffective

assistance of appellate counsel” in Issue IV. However, in this Issue IV, Petitioner

addresses only one of these trial error issues -- appellate counsel’s failure to raise the

issue that Petitioner was prejudiced by the admission of “hearsay” evidence.2


       2
         Petitioner also raised an unrelated claim of ineffectiveness in that his appellate
counsel accepted the court reporter’s certification of completeness of the trial transcript

                                               8
  Case 2:95-cr-80272-LJM ECF No. 792, PageID.320 Filed 02/24/09 Page 9 of 16




       Attorney error may constitute “cause” for failure to raise an issue on appeal if it

rises to the level of constitutionally ineffective assistance of counsel. See Gravley v.

Mills, 87 F.3d 779, 785 (6th Cir. 1996); Rust v. Zent, 17 F.3d 155, 161 (6th Cir. 1994).

In order to succeed on a claim of ineffective assistance of appellate counsel, a petitioner

must show errors so serious that counsel was scarcely functioning as counsel at all and

that those errors undermined the reliability of the defendant’s convictions. Strickland v.

Washington, 466 U.S. 668, 687 (1984); McMeans v. Brigano, 228 F.3d 674, 682 (6th Cir.

2000). However, a defendant has no constitutional right to have every nonfrivolous

issue raised on appeal, see Jones v. Barnes, 463 U.S. 745, 750-54 (1983); McMeans, 228

F.2d at 682, and tactical choices regarding issues raised on appeal are properly left to the

sound professional judgment of counsel. United States v. Perry, 908 F.2d 56, 69 (6th

Cir.), cert. denied, 498 U.S. 1002 (1990).

       Petitioner Araña has not demonstrated that his appellate counsel’s failure to raise

the “admission of inadmissible hearsay” issue was an unreasonable strategic decision

under the circumstances. Counsel did raise a number of issues on appeal (including the

“prior wrongful acts” issue upon which Petitioner relies heavily and to which he devotes



but noted in his appeal brief that some colloquy between the trial attorneys and the Court
appeared to be missing from the transcript. Petitioner claims that his counsel was
ineffective because he should not have filed a brief before securing a truly “complete”
transcript. Petitioner, however, cannot show that he was prejudiced by his appellate
counsel’s notation of a perceived incomplete trial transcript, particularly since any
alleged missing transcription of colloquy between counsel and the Court does not
constitute evidence upon which his conviction was based.

                                              9
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.321 Filed 02/24/09 Page 10 of 16




nearly half of his 90-page brief). Furthermore, a trial court’s determination of

admissibility of evidence is subject to a highly deferential abuse of discretion standard.

United States v. Seago, 930 F.2d 482, 494 (6th Cir. 1991). As a consequence, appellate

courts will not lightly overrule the trial court’s decision. United States v. Stull, 743 F.2d

439, 444 (6th Cir. 1984), cert. denied, 470 U.S. 1062 (1985). Therefore, it was not

unreasonable for appellate counsel to decide not to raise Petitioner’s claims of

inadmissible hearsay in his appeal.

       Therefore, the Court concludes that Petitioner has failed to show legally

cognizable “cause” for his failure to raise his claims in Issues II and V-X in his direct

appeal. And, as Petitioner has not demonstrated “cause” for his procedurally defaulted

claims, it is unnecessary to determine if he has shown prejudice. Bousley v. United

States, supra, 523 U.S. at 623.

       In sum, Petitioner Araña having failed to overcome his procedural default on

Issues II, V, VI, VII, VIII, IX, and X, § 2255 review of these claims is barred.

D.     PETITIONER HAS NOT DEMONSTRATED THAT HE WAS
       AFFORDED INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

       Ineffectiveness of counsel is the one exception to the general rule that claims not

raised on direct appeal may not be raised on collateral review unless the petitioner shows

cause and prejudice. See Massaro v. United States, 538 U.S. 500 (2003). Petitioner

Araña claims that his trial counsel was ineffective because he (1) failed to brief the “prior

wrongful bad acts” issue; (2) failed to investigate the discovery information received


                                              10
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.322 Filed 02/24/09 Page 11 of 16




about a possible New York “hit” on Gil Debasa; (3) failed to secure the suppression of

the FBI agent’s testimony identifying the participants in wiretap tape-recorded

conversations involving the defendants; (4) failing to object to the admission of evidence

as hearsay and lacking foundation; and (5) failing to move for a mistrial due to the

Court’s admission of evidence that was prejudicial to Petitioner.

       To show that Petitioner was denied the effective assistance of counsel under

federal constitutional standards, a defendant must satisfy a two-prong test. In Strickland

v. Washington, 466 U.S. 668 (1984), the United States Supreme Court set forth the

two-pronged test for determining whether a habeas petitioner has received ineffective

assistance of counsel. First, a petitioner must prove that counsel's performance was

deficient. This requires a showing that counsel made errors so serious that he or she was

not functioning as counsel as guaranteed by the Sixth Amendment. Strickland, 466 U.S.

at 687. Second, the petitioner must establish that the deficient performance prejudiced

the defense. Counsel’s errors must have been so serious that they deprived the petitioner

of a fair trial or appeal. Id.

       With respect to the performance prong, a petitioner must identify acts that were

“outside the wide range of professionally competent assistance” in order to prove

deficient performance. Id. at 690. A reviewing court’s scrutiny of defense counsel’s

performance is highly deferential, and defense counsel is presumed to have rendered

adequate assistance by exercising reasonable professional judgment and sound trial



                                            11
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.323 Filed 02/24/09 Page 12 of 16




strategy. Wong v. Money, 142 F.3d 313, 319 (6th Cir. 1998); Austin v. Bell, 126 F.3d

843, 848 (6th Cir. 1997), cert. denied, 523 U.S. 1088 (1998). The petitioner must

overcome the presumption that, under the circumstances, the challenged actions might be

considered sound trial strategy. Strickland, 466 U.S. at 689; Tucker v. Prelesnik, 181 F.3d

747, 754 (6th Cir.1999). Petitioner Araña has not met this burden.

       Petitioner first faults his trial attorney for raising evidentiary objections as to the

admission of evidence of Petitioner’s “pre-conspiracy” wrongful bad acts without filing a

supporting brief. However, Petitioner fails to identify any evidence that would have been

suppressed had his counsel filed a supporting brief. The most he can do is speculate that

the outcome of the trial “may” have been different. [See Petitioner’s Brief, p. 52]. Such

speculation on whether the outcome would have been different is insufficient to establish

ineffectiveness of counsel. McGuire v. Mitchell, 2007 WL 1893902, at *22 (S.D. Ohio

2007), citing Baze v. Parker, 371 F.3d 310, 322 (6th Cir.2004).

       As for Petitioner’s complaints regarding his attorney’s failure to pursue

investigation of the possibility that the murder of Gil Debasa was ordered by some drug

dealers from New York, both at trial and in his 2255 petition, Petitioner fails to identify

the people that should have been interviewed by his counsel (or an investigator hired by

counsel). The “tipster” about the New York connection was known only by his first

name, and could not be located. He was not an official, signed informant. He was

deemed unreliable by the Michigan State Police officer who received the information



                                               12
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.324 Filed 02/24/09 Page 13 of 16




about the “New York hit.” No relevant names or locations in New York were ever

identified. The tipster’s information was based on what he had heard from some

unnamed person. The State Police officer testified (in a hearing held on this matter

outside the presence of the jury) that he had not had any additional contact with the

informant since shortly before the murder in 1994. The Court allowed each defense

counsel to cross-examine the officer at length. Given these circumstances, defense

counsel’s failure to investigate the “tip” any further does not amount to ineffective

assistance of counsel.

       Petitioner also faults his trial attorney for not objecting to the testimony of an FBI

Special Agent who introduced wiretap tapes, identified the voices on the tapes and

explained the meaning of certain terms used in drug-related conversations. All of these

are permissible examples of agent testimony. See United States v. Cooke, 795 F.2d 527

(6th Cir. 1986) (“The standard for the admissibility of an opinion as to the identity of a

speaker is merely that the identifier has heard the voice of the alleged speaker at any

time.” Id. at 520 (quoting United States v. Rizzo, 492 F.2d 443, 448 (2d Cir.), cert.

denied, 417 U.S. 944 (1974) and Fed.R.Evid. 901(b)(5)); United States v. Hughes, 970

F.2d 227, 235-36 (7th Cir. 1992) (holding that federal agents who have training and

experience in drug-related transactions, crimes and prosecution are qualified to give

testimony concerning the practices of those engaged in this type of activity); see also

United States v. Graham, 856 F.2d 756, 759 (6th Cir. 1988) (a government agent may,



                                             13
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.325 Filed 02/24/09 Page 14 of 16




like any other witness, testify in the form of an opinion as to his understanding of a

defendant’s statement in a telephone conversation). Therefore, it would have been

frivolous for defense counsel to have objected to the FBI Agent’s testimony in this case.

       Petitioner also claims that his attorney was ineffective for failing to object to the

admission of evidence that he perceives to be “hearsay” and lacking foundation, and for

failing to move for a mistrial due to the Court’s admission of evidence that was

prejudicial to Petitioner. Petitioner, not being an attorney, is obviously unaware of the

particulars of the Rules of Evidence. The “hearsay” and prejudicial statements Petitioner

complains of actually are not hearsay or fall within exceptions to the hearsay rule. For

example, when co-conspirator defendant Hernandez recruited another co-conspirator by

repeating Petitioner Araña’s invitation to come to Detroit to sell drugs for him, this was a

classic co-conspirator statement under Fed. R. Evid. 801(d)(2)(E). The statement was

made (1) after a conspiracy was formed; (2) by a member of the conspiracy; (3) in

furtherance of a conspiracy, i.e., to recruit drug sellers for the Detroit aspect of a drug

operation. See United States v. Franklin, 415 F.3d 537 (6th Cir. 2005). Furthermore, for

purposes of the co-conspirator exception to the hearsay rule, a conspiracy is not limited to

the dates of the conspiracy charged in the indictment. See United States v. Talley, 164

F.3d 989 (6th Cir. 1999); United States v. Bonds, 12 F.3d 540 (6th Cir. 1993). Therefore,

statements made pursuant to an earlier conspiracy to sell drugs were admissible.

Accordingly, there was no ineffectiveness of counsel in failing to object to such evidence.



                                              14
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.326 Filed 02/24/09 Page 15 of 16




E.    PETITIONER’S SUPPLEMENTAL PETITIONS ARE WITHOUT MERIT

       On September 13, 2004, Petitioner filed a “Supplemental Brief in Support” of his

2255 Motion arguing that he should not have been sentenced based on sentencing

guideline factors (such as role in the offense or drug amounts) that were not found

beyond a reasonable doubt, by the jury. In support of this view, Petitioner cited Blakely

v. Washington, 542 U.S. 296 (2004). Then, on December 1, 2008, Petitioner filed an

“Unopposed Motion for Leave to File A Supplemental Letter Brief” [Crim. Dkt. # 791]

to which he appended a second proposed supplemental brief relying upon United States

v. Booker, 543 U.S. 220 (2005).

      The Sixth Circuit, however, has held that Blakely and Booker are not to be applied

retroactively to cases already final on direct review. See Humphress v. United States,

398 F.3d 855 (6th Cir. 2005); Valentine v. United States, 488 F.3d 325 (6th Cir. 2007);

Duncan v. United States, 552 F.3d 442 (6th Cir. 2009). Petitioner’s conviction became

final on December 9, 2002 when the Supreme Court denied his petition for a writ of

certiorari, two years before Blakely was decided and three years before Booker.

Therefore, under controlling Sixth Circuit law, Petitioner Araña’s 2004 and 2008

supplemental 2255 arguments afford him no relief.

                                     CONCLUSION

       For all of the foregoing reasons,

       IT IS HEREBY ORDERED that Petitioner Luis Araña’s § 2255 Motion to Vacate,



                                            15
 Case 2:95-cr-80272-LJM ECF No. 792, PageID.327 Filed 02/24/09 Page 16 of 16




Set Aside or Correct his Sentence be, and hereby is, DENIED.



                           s/Gerald E. Rosen
                           Chief Judge, United States District Court

Dated: February 24, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 24, 2009, by electronic and/or ordinary mail.

                           s/LaShawn R. Saulsberry
                           Case Manager




                                           16
